Case 2:03-cr-20485-SH|\/| Document 295 Filed 06/17/05 Page 1 of 2 Page|D 341

Fn.Eo ev 552 o.c.
IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA, WD.GFWN,MEMMMS

VS. NO. O3-20485*Ma
KENNETH TAYLOR,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on June 16, 2005, the United
States Attorney for this district, Lorraine Craig, appearing for
the government and the defendant, Kenneth Taylor, appearing in
person and with counsel, Linda Kendall Garner.

With leave of court, the defendant withdrew the not guilty
plea heretofore entered and entered a plea of guilty to Counts 2
and 3 of the Superseding Indictment.

Plea colloquy was held and the court accepted the guilty
plea.

SENTENCING il'l this CEtSe iS SET for THURSDA'Y, SEPTEMBER 15,
2005, at 2:00 P.M., in Courtroom No. 2, on the 11th floor before
Judge Samuel H. Mays, Jr.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this tq&¢`day of June, 2005.
JAM/WI/l`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet ln c?mptlance
with Ftule 55 and/or 32(b} FRCrP on ' ’O

 

 

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Honorable Samuel Mays
US DISTRICT COURT

